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14   Platforms, Inc.
15                               UNITED STATES DISTRICT COURT
16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                      OAKLAND DIVISION
18    WHATSAPP LLC.
      and META PLATFORMS, INC.,         )             Case No. 4:19-cv-07123-PJH
19                                      )
                      Plaintiffs,       )             PLAINTIFFS’ OPPOSITION TO
20                                      )             DEFENDANTS’ MOTION TO
             v.                         )             STRIKE THE SUPPLEMENTAL EX-
21                                      )             PERT REPORT OF DANA TREXLER
      NSO GROUP TECHNOLOGIES LIMITED )
22    and Q CYBER TECHNOLOGIES LIMITED, )             Date: February 13, 2025
                                        )             Time: 2:00 p.m.
23                    Defendants.       )             Ctrm: 3
                                        )             Before the Honorable Phyllis J. Hamilton
24                                      )
                                        )             Action Filed: Oct. 29, 2019
25

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 1                                     PRELIMINARY STATEMENT

 2          Plaintiffs WhatsApp LLC and Meta Platforms, Inc. properly served a supplemental expert

 3   report (the “Trexler Supplemental Report”) after the affirmative expert report deadline. The Trexler

 4   Supplemental Report is based on new information that Defendants NSO Group Technologies Limited

 5   and Q Cyber Technologies Limited (collectively, “NSO”) did not provide until after Plaintiffs served

 6   their damages expert’s initial report: specifically, the deposition testimony of Sarit Bizinsky Gil,

 7   NSO’s corporate representative on damages issues. NSO’s motion to strike the Trexler Supplemental

 8   Report is therefore baseless and should be denied.

 9          On August 26, 2024, just days before the deadline for parties to serve affirmative expert re-

10   ports, NSO made their first (and only) substantial document production to Plaintiffs. Buried in the

11   4,500 documents that NSO produced was a spreadsheet (the “NSO Profit Spreadsheet”) that pur-

12   ported to calculate

13                                                                                                  See Dkt.

14   No. 487-4. The spreadsheet was tailor-made for this litigation and lacked any context. It did not

15   identify its author, and lacked any explanation of its source(s), assumptions, or the reasons for those

16   assumptions.

17          Given the timing of the production and the lack of context for the NSO Profit Spreadsheet,

18   Plaintiffs’ damages expert (Dana Trexler) noted the existence of the NSO Profit Spreadsheet in her

19   initial expert report served on August 30, 2024 (the “Trexler Report”). In the Trexler Report, Ms.

20   Trexler concluded that there was insufficient information in the record to allow a reliable analysis of

21   the NSO Profit Spreadsheet. Ms. Trexler also noted in the Trexler Report that NSO had offered Ms.

22   Gil for deposition after Ms. Trexler’s report was due, and reserved the right to update her damages

23   analysis based on Ms. Gil’s testimony if it provided information to allow an analysis of the NSO

24   Profit Spreadsheet. On September 6, 2024, NSO produced Ms. Gil and Plaintiffs deposed her, learn-

25   ing for the first time NSO’s positions regarding the provenance, inputs, assumptions, and calculations

26   in the NSO Profit Spreadsheet, which Ms. Gil admitted having created at the direction of NSO’s

27   counsel in this litigation via a methodology previously unknown—and unknowable—to Plaintiffs.

28   Based on the explanation in Ms. Gil’s testimony, Ms. Trexler prepared a supplemental report (the

                                                          1
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 1   “Trexler Supplemental Report”), which Plaintiffs served on September 21, 2024. See Dkt. No. 487-

 2   6.

 3             NSO’s argument that Ms. Trexler could or should have revised her damages analysis and

 4   report upon receipt of the NSO Profit Spreadsheet should be rejected. The NSO Profit Spreadsheet

 5   was nearly unintelligible without the deposition testimony from Ms. Gil, the spreadsheet’s author.

 6   Courts have consistently recognized that subsequent deposition testimony, like the technical expla-

 7   nations that Ms. Gil provided regarding the NSO Profit Spreadsheet, provide sufficient ground to

 8   supplement an expert report, as Ms. Trexler did here.

 9             NSO’s claims of prejudice and harm are meritless. First, NSO is incorrect that Ms. Trexler

10   discarded the opinions in the Trexler Report. See Dkt No. 487-6 ¶ 2

11                                                                                            ). Second, any

12   purported prejudice to NSO is of NSO’s making. NSO offers no explanation as to why it refused to

13   disclose financial statements underpinning the NSO Profit Spreadsheet, why it withheld the NSO

14   Profit Spreadsheet until mere days before the deadline for affirmative expert reports, or why it failed

15   to produce its corporate representative witness on damages until after Ms. Trexler’s initial deadline—

16   despite the fact that discovery began in February 2023.

17             NSO’s argument that Ms. Trexler did not need to rely on Ms. Gil’s testimony to analyze the

18   NSO Profit Spreadsheet ignores that NSO’s own damages expert, Gregory Pinsonneault,

19                                                                                   He also had two months

20   to respond to the Trexler Supplemental Report, whereas Plaintiffs submitted the Trexler Supple-

21   mental Report two weeks after Ms. Gil’s deposition.

22             Lastly, NSO tellingly raised no objection or concern regarding the Trexler Supplemental Re-

23   port until December 3, 2024, some 10 weeks after they received it, but just a day after Plaintiffs

24   indicated their intent to strike Mr. Pinsonneault’s belated, post-deposition second supplemental re-

25   port—all of which calls into question whether NSO’s motion stems from any good-faith concern

26   regarding harm or prejudice, or instead from a desire to retaliate.

27             For all of these reasons, Plaintiffs respectfully request that the Court deny NSO’s motion to

28   strike.

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 1                                              BACKGROUND

 2     I.   NSO Produces Documents and Deponents After the Expert Disclosure Deadline

 3          On January 18, 2024, NSO moved to modify the Court-ordered case schedule and requested

 4   a six-month extension of the fact discovery cut-off from March 11, 2024, to September 13, 2024.

 5   Dkt. No. 265 at 1. The Court granted NSO’s request in order to give NSO additional time to comply

 6   with its Israeli law obligations. See Dkt. No. 292. The Court then set August 30, 2024 as the affirm-

 7   ative expert disclosure deadline. Id. Under this schedule, the final two weeks of the 19-month-long

 8   fact discovery period would fall after affirmative expert reports were served.

 9          By August 1, 2024, Plaintiffs had substantially completed their production of documents, but

10   NSO had only produced 17 of its own documents. See Dkt. No. 388 at 1–2. NSO did not produce

11   the vast majority of its documents—approximately 4,500 documents—until late August 2024, just

12   before the deadline for affirmative expert disclosures. See id. At this time, NSO produced the NSO

13   Profit Spreadsheet, which seemed to offer NSO’s proposed calculations of certain of its profits rele-

14   vant to this litigation. NSO produced another approximately 330 documents between September 3,

15   2024 and September 13, 2024. Dkt. No. 388-1 ¶ 2.

16          Plaintiffs first identified Ms. Gil as a potential deponent on April 5, 2024, but NSO only

17   offered its witnesses, including Ms. Gil, for depositions between August 27, 2024 and September 6,

18   2024. See Dkt. No. 388-1 ¶ 3. NSO offered Ms. Gil, its corporate representative witness on damages

19   issues, to sit for a deposition on September 6, 2024, nearly a week after the affirmative expert dis-

20   closure deadline. See id.

21    II.   Plaintiffs Serve Their Affirmative Damages Expert Report, Noting NSO’s Ongoing

22          Productions

23          On August 30, 2024, Plaintiffs served the affirmative expert report of their damages expert,

24   Dana Trexler (the “Trexler Report”). See Dkt. No. 487-3. The Trexler Report states that “

25                                                                                            ” Id. ¶ 7. The

26   Trexler Report also notes that “

27

28                                                   ” Id. Relying on the information that NSO and its

                                                          3
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 1   affiliates had produced by mid-August 2024, the Trexler Report calculates

 2

 3                                                                                                         Id.

 4   ¶ 89. The Trexler Report acknowledges the NSO Profit Spreadsheet, which NSO produced on Au-

 5   gust 26, 2024, but does not use it to calculate                                            because of its

 6   “recent production” as well as its “limited information available with respect to amounts contained

 7   therein, and the pending deposition of Defendants’ CFO.” Id. ¶ 99.

 8   III.   Plaintiffs Depose NSO’s Corporate Representative on Damages Issues After the

 9          Affirmative Expert Report Deadline

10          After Ms. Trexler submitted the Trexler Report on August 30, 2024, Plaintiffs deposed Ms.

11   Gil, NSO’s corporate representative witness on damages issues, in London on September 6, 2024.

12   Ms. Gil’s testimony provided an explanation of the NSO Profit Spreadsheet that NSO produced on

13   August 26, 2024, just days before the submission of the Trexler Report. Dkt. No. 487-3 ¶ 8 n.5. For

14   instance, Ms. Gil provided the following information regarding the NSO Profit Spreadsheet:

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18   IV.     Plaintiffs Serve a Supplemental Affirmative Damages Expert Report Based on This New

19           Information, and NSO Responds

20           In light of this new information, on September 21, 2024, Ms. Trexler submitted the Trexler

21   Supplemental Report with a revised estimate of

22            . See Dkt. No. 487-6. This revised estimate included revenue calculations based on the NSO

23   Profit Spreadsheet and concluded that NSO’s

24                                Id. ¶ 8.

25           NSO’s expert, Mr. Pinsonneault, prepared a rebuttal to the Trexler Supplemental Report.

26   NSO served that report on November 8, 2024. 1 See Dkt. No. 490-4, Ex. B.

27
     1
28    The procedural and factual background related to the expert reports of Ms. Trexler and Mr. Pinson-
     neault are set forth in greater detail in Plaintiffs’ motion to strike the second supplemental report of
                                                          5
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 1    V.    NSO Serves a Supplemental Damages Report Responding to the Trexler Supplemental

 2          Report

 3          NSO and Plaintiffs negotiated for Ms. Trexler to be deposed on November 13, 2024. On

 4   November 8, 2024, NSO informed Plaintiffs that it would forgo her deposition. Block Decl. ¶ 5.

 5   Plaintiffs deposed NSO’s damages expert, Mr. Pinsonneault, on November 19, 2024. Seven days

 6   later, on November 27, 2024, NSO served Mr. Pinsonneault’s Second Supplemental Report, which

 7   is the subject of another pending motion. See Dkt. 490-3. On December 2, 2024, Plaintiffs’ counsel

 8   asked NSO to confer regarding Plaintiffs’ anticipated motion to strike Mr. Pinsonneault’s Second

 9   Supplemental Report. Block Decl. ¶ 7. The next day, NSO responded by raising its intention to

10   move to strike the Trexler Supplemental Report for the first time. Id. ¶ 8

11                                           LEGAL STANDARD

12          Expert reports must be submitted “at the times and in the sequence that the court orders.”

13   Fed. R. Civ. P. 26(a)(2)(D). Experts can further supplement or correct their report if they later

14   “learn[] that in some material respect the disclosure or response is incomplete or incorrect.” Fed. R.

15   Civ. P. 26(e)(1)(A). An expert’s “duty to supplement extends both to information included in the

16   report and to information given during the expert’s deposition.” Fed. R. Civ. P. 26(e)(2). Supple-

17   mentation under Rule 26(e) “means correcting inaccuracies, or filling the interstices of an incomplete

18   report based on information that was not available at the time of the initial disclosure.” Luke v. Fam.

19   Care & Urgent Med. Clinics, 323 F. App’x 496, 500 (9th Cir. 2009); see also Munchkin, Inc. v.

20   Playtex Products, LLC, 600 F. App’x 537, 538 (9th Cir. 2015).

21                                                ARGUMENT

22     I.   The Trexler Supplemental Report Is a Proper Supplemental Report

23          NSO produced Ms. Gil for deposition on September 6, 2024, seven days after Plaintiffs served

24   the Trexler Report. Dkt. No. 492 ¶¶ 4–5. A proper supplemental report is one that fills the interstices

25   of a report based on new information. Luke, 323 F. App’x 496 at 500; Munchkin, 600 F. App’x at

26

27
     Mr. Pinsonneault, Dkt. No. 490-3, and Plaintiffs’ Daubert motion seeking to strike portions of Mr.
28   Pinsonneault’s testimony, Dkt. No. 508-3.
                                                          6
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 1   538. The Trexler Supplemental Report relies extensively on the new information provided in Ms.

 2   Gil’s deposition and therefore is a proper supplemental report. Id.

 3              A. The Trexler Supplemental Report Relies on Ms. Gil’s Deposition Testimony

 4          The Trexler Supplemental Report relies extensively on information that was not available at

 5   the time that Plaintiffs served the Trexler Report: namely, Ms. Gil’s deposition testimony explaining

 6   the NSO Profit Spreadsheet. The Trexler Report acknowledges the existence of the NSO Profit

 7   Spreadsheet but does not use it to calculate NSO’s

 8   because Ms. Trexler lacked the necessary information to understand reliably how the revenue and

 9   profit figures in the spreadsheet had been calculated. See Dkt. No. 487-3 ¶ 99.2 At her deposition

10   on September 6, 2024, Plaintiffs obtained this information from Ms. Gil, and Plaintiffs accordingly

11   served the Trexler Supplemental Report on September 21, 2024. Relying on the information that

12   Ms. Gil provided, the Trexler Supplemental Report includes supplemental analyses and opinions

13   regarding the proper calculation of NSO’s                                            . See, e.g., Dkt. No.

14   487-6 ¶¶ 5–6. Though these opinions used figures in the NSO Profit Spreadsheet, Ms. Trexler’s

15   understanding of those numbers came                                . Id. ¶¶ 11–12.

16          Neither Plaintiffs nor Ms. Trexler could understand the NSO Profit Spreadsheet without

17                               . At her deposition, Ms. Gil

18                                                              . Block Decl., Ex A (Gil Dep. Tr.) at 159:8–

19   160:4. Instead,

20                           . Id. at 158:19–159:10. Ms. Gil’s testimony

21                                                                            For example, Ms. Gil testified

22   that

23          . Id. at 159:17–160:7. Instead, Ms. Gil

24                                                                                                        . Id.

25   2
       Contrary to NSO’s claim, Ms. Trexler did not decline to use the NSO Profit Spreadsheet “for rea-
26   sons known only to her.” Dkt. No. 487, Ex. 1 at 3. She stated the reasons in her report. See Dkt. No.
     487-3 ¶ 99 (“Based on the recent production of this document, limited information available with
27   respect to amounts contained therein, and the pending deposition of Defendants’ CFO, I have not
     used [the NSO Profit Spreadsheet] for purposes of determining profits specifically attributable to
28   Defendants’ Exploit.”).
                                                          7
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 1   at 175:21–177:23. This is an assumption that is not discernable from the NSO Profit Spreadsheet on

 2   its own. In fact, NSO only revealed these

 3                                                              . Dkt No. 490-4, Ex. D ¶ 9. As another ex-

 4   ample, Ms. Gil also included

 5              The NSO Profit Spreadsheet contains no explanation of what the

 6                                                 . See Dkt. No. 487-3 ¶ 97 n. 140 (“

 7

 8                                      ”). Only after Ms. Gil testified to the “                       ”

 9   was Ms. Trexler able to understand what this column and its values meant. See Block Decl., Ex A

10   (Gil Dep. Tr.) at 210:24–214:16.

11          As further evidence that the NSO Profit Spreadsheet was

12

13                 Mr. Pinsonneault’s initial report includes

14                                                        . See e.g., Dkt. No. 508-4, Ex. B (Pinsonneault

15   Rebuttal Rep.) at 37–41 (                                                                          ).

16   Moreover, Mr. Pinsonneault had

17           . Id. ¶ 96 & n.174. He had                                                                  ,

18   Block Decl., Ex B (Pinsonneault Dep. Tr.) at 30:2–12, and yet

19

20                                   . Dkt. No. 490-4, Ex. D (Pinsonneault Second Supp. Rep.) ¶ 9 & n.12.

21

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24          NSO’s suggestion that “adequate diligence” would have required Ms. Trexler or Plaintiffs’

25   counsel to seek “clarification” from NSO or its counsel lacks any support in logic or case law. NSO

26   produced the NSO Profit Spreadsheet on August 26, 2024, without any context and just four days

27   before the affirmative expert disclosure deadline. Unsurprisingly, NSO fails to identify any prece-

28   dent or discovery device allowing a party to ask opposing counsel “clarification” questions regarding

                                                          8
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 1   a recently produced document and obtain responses within days. Instead, Plaintiffs adhered to the

 2   proper method for obtaining such information: deposition of fact witnesses. Damaj v. Farmers Ins.

 3   Co., 164 F.R.D. 559, 560 (N.D. Okla. 1995) (“ . . . the purpose of a deposition is to find out what the

 4   witness saw, heard and knows, or what the witness thinks”); see also Schnatter v. 247 Group, LLC,

 5   343 F.R.D. 325, 331 (W.D. Ky. 2022) (“A Rule 30(b)(6) witness . . . ‘has a duty to reasonably obtain

 6   information from corporate documents, current or prior corporate employees, or any other sources

 7   reasonably available to the corporation.’” (quoting White v. Wal-Mart Stores East, L.P., 2018 WL

 8   5083891, at *3 (W.D. Ky. Oct. 18, 2018))).

 9          The cases that NSO cites do not impose such draconian obligations on a party or expert. For

10   instance, NSO cites Sherwin-Williams Co. v. JB Collision Services, Inc., for the proposition that

11   “Rule 26(e) ‘does not justify supplementing a report because of a party’s lack of due diligence,’”

12   Dkt. No. 487, Ex. 1 at 7 (citing 2015 WL 4742494, at *6 (S.D. Cal. Aug. 11, 2015)). In Sherwin-

13   Williams, the defendants not only had all of the information “well before production of the initial

14   report,” but “failed to diligently retain an expert, obtain samples, conduct testing, and have their

15   expert perform the necessary analyses.” 2015 WL 4742494, at *3. These egregious facts bear no

16   resemblance to Plaintiffs’ conduct here, where Ms. Trexler dutifully submitted a report on the af-

17   firmative expert disclosure date, noted the existence of the NSO Profit Spreadsheet and lack of ex-

18   planation or testimony regarding its contents, and disclosed that she needed additional explanation in

19   order to assess or offer any opinion of the NSO Profit Spreadsheet.

20              B. Deposition Testimony Explaining Technical Documents Constitutes New

21                  Information

22          A supplemental report “can be appropriate ‘in light of newly discovered evidence’—as op-

23   posed to new arguments or expert interpretations—where the party seeking to supplement the report

24   is not at fault for failure to identify the evidence earlier.” Cave Consulting Group, Inc. v. Op-

25   tumInsight, Inc., 2018 WL 1938555 at *4 (N.D. Cal. Apr. 25, 2018) (quoting Ferman v. Double J

26   Marine, LLC, 2016 WL 9330712, at *2 (E.D. La. Jul. 6, 2016)). Here, the Trexler Supplemental

27   Report relies on Ms. Gil’s deposition testimony—evidence that was undisputedly unavailable before

28   August 30, 2024, when Plaintiffs served the Trexler Report.

                                                          9
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 1          Courts have consistently recognized that deposition testimony given after an expert report

 2   amounts to new evidence allowing supplementation of that expert report. For instance, in Therapure

 3   Biopharma Inc., the Court addressed the propriety of supplemental reports which plaintiffs asserted

 4   “’address[ed] new information learned through depositions that were not completed until after the

 5   witnesses’ initial and rebuttal reports were served.’” Therapure Biopharma Inc. v. DynPort Vaccine

 6   Co. LLC, 2021 WL 2719060, at *2 (D. Md. June 30, 2021) (emphasis in original). One of plaintiff’s

 7   experts supplemented his report after defendants’ corporate representative was deposed and “pro-

 8   vided the company’s official position” on defendants’ technical information. Id. at *5. Defendant

 9   argued that the supplemental report was improper because it had previously produced the underlying

10   documents, meaning “the corporate testimony was not new information.” Id. The court rejected this

11   argument, reasoning that the corporate testimony “qualifies as material facts not previously known

12   to [plaintiff’s] expert.” Id. “To correct and complete his initial report,” plaintiffs’ expert considered

13   the defendant’s “official position provided by [the corporate representative] during his deposition,

14   which had not previously been disclosed.” Id. at *6 (quoting OmniSource Corp. v. Heat Wave Metal

15   Processing, Inc., 2015 WL 3452918, at *10 (E.D.N.C. May 29, 2015)). Similarly, in Ferman, the

16   court specifically allowed an expert to supplement a report to account for the deposition of a witness

17   taken after the initial report, which the court characterized as “newly discovered evidence.” 2016

18   WL 9330712, at *2; see also OmniSource Corp, 2015 WL 3452918, at *10 (a supplemental report

19   was proper because the expert relied on new information, including “deposition transcripts of key

20   witnesses”). As in all these cases, Ms. Gil’s deposition testimony provided Plaintiffs with new in-

21   formation, despite the fact that the NSO Profit Spreadsheet was produced just four days before Plain-

22   tiffs served the Trexler Report.

23    II.   The Court Should Not Strike the Trexler Supplemental Report

24          Because the Trexler Supplemental Report relied heavily on Ms. Gil’s deposition testimony,

25   which was not available when Plaintiffs served the Trexler Report, the Trexler Supplemental Report

26   is a proper supplemental report. See Fed. R. Civ. P. 26(e). Even if the Court were to disagree with

27   Plaintiffs’ perspectives, it should not strike the Trexler Supplemental Report. “Exclusion” of an

28   expert report is a “harsh remedy.’” Wertz v. Target Corp., 2009 WL 635655, at *3 (E.D. Cal. Mar.

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 1   10, 2009); see also Rooney v. Sierra Pac. Windows, 2011 WL 2149097, at *3 (N.D. Cal. June 1,

 2   2011) (“Evidentiary preclusion is a harsh sanction.”). Plaintiffs’ expert should not be punished for

 3   failing to incorporate NSO’s complex financial documents served just four days before the expert

 4   disclosure deadline, especially given NSO’s repeated refusal to comply with its discovery obliga-

 5   tions. See, e.g., Dkt. No. 494 at 9 (“Overall, the court concludes that defendants have repeatedly

 6   failed to produce relevant discovery and failed to obey court orders regarding such discovery.”).

 7   “Among the factors that may properly guide a district court in determining whether a violation of a

 8   discovery deadline is justified or harmless are: (1) prejudice or surprise to the party against whom

 9   the evidence is offered; (2) the ability of that party to cure the prejudice; (3) the likelihood of disrup-

10   tion of the trial; and (4) bad faith or willfulness involved in not timely disclosing the evidence.”

11   Lanard Toys Ltd. v. Novelty, Inc., 375 F. App’x 705, 713 (9th Cir. 2010). In the event that the Court

12   reaches this analysis, these factors all counsel against striking the Trexler Supplemental Report.

13           First, NSO suffered no “prejudice” because Ms. Trexler continues to rely on the analysis in

14   the Trexler Report. NSO claims that it suffered harm because it wasted resources in responding to

15   the Trexler Report, but the Trexler Supplemental Report did not render that effort wasted or futile.

16   The Trexler Supplemental Report “

17                                                                          .” Dkt. No. 487-6 ¶ 2. That the

18   “

19                                  ” does not mean that Ms. Trexler discarded the opinions in the Trexler

20   Report. Id. ¶ 6.

21           Moreover, by its own reasoning, NSO’s alleged harm is of its own making. NSO postulates

22   that a delay in disclosure caused it to incur costs to create portions of an expert report that was no

23   longer necessary. NSO is the singular cause of any such delay. As noted, NSO disclosed the NSO

24   Profit Spreadsheet four days before Ms. Trexler’s initial report was due. Because NSO did not pro-

25   duce the NSO Profit Spreadsheet earlier, Ms. Trexler conducted                                   based on

26   other available information at that time. Had NSO disclosed the NSO Profit Spreadsheet earlier, Ms.

27   Trexler may not have had a need to supplement the Trexler Report. NSO’s theory of harm therefore

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 1   applies against them and supports a finding that Plaintiffs were prejudiced by NSO’s delays and

 2   gamesmanship.

 3          Regarding “surprise,” NSO cannot credibly claim to have been surprised that Plaintiffs of-

 4   fered expert opinions regarding testimony that NSO provided after the deadline for affirmative expert

 5   disclosures—especially when Ms. Gil’s deposition focused largely on obtaining an explanation of

 6   the NSO Profit Spreadsheet. Ms. Trexler also clearly stated in the Trexler Report

 7

 8              . See Dkt. No. 487-3 ¶¶ 7–8. Lastly, the Trexler Supplemental Report was promptly

 9   submitted two weeks after Ms. Gil’s deposition, so NSO cannot credibly claim surprise from a much

10   belated supplement. See Therapure, 2021 WL 2719060, at *6 (ruling that defendants could not claim

11   surprise because the supplemental report was produced on the supplementation deadline and approx-

12   imately two to three weeks after the corporate designee’s testimony).

13          Second, NSO had a full opportunity to cure any harm they may have suffered. In the more

14   than two months following the submission of the Trexler Supplemental Report, Mr. Pinsonneault

15   submitted two supplemental reports responding to Ms. Trexler’s analysis of the NSO Profit Spread-

16   sheet. He submitted the first supplemental report on November 8, 2024 and the second on November

17   27, 2024. NSO also declined to depose Ms. Trexler.

18          Third, since NSO premises its theory of harm solely on the incurrence of costs associated

19   with preparing portions of Mr. Pinsonneault’s initial report, NSO does not claim that Ms. Trexler’s

20   Supplemental Report altered any other reports, motions, or hearings. NSO does not claim that Ms.

21   Trexler’s opinions will disrupt the trial. Lastly, NSO accuses Plaintiffs, without any evidence, of

22   concealing Ms. Trexler’s report until the expert rebuttal deadline. In fact, Ms. Trexler worked dili-

23   gently to prepare her report, and Plaintiffs worked diligently to disclose it. Block Decl. ¶ 4.

24          At bottom, this is not the scenario that the Federal Rules of Civil Procedure aim to protect

25   against. Rule 26(e) prevents experts from serving additional reports that add new or refined opinions

26   or analyses in response to rebuttal opinions or challenges raised in their depositions. See Luke, 323

27   F. App’x at 499–500; see also Keener v. United States, 181 F.R.D. 639, 641 (D. Mont. 1998) (“The

28   experienced expert could simply ‘lie in wait’ so as to express his genuine opinions only after plaintiff

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 1   discloses hers.”). Here, Ms. Trexler did nothing of the sort. She disclosed the need to learn more

 2   information about the NSO Profit Spreadsheet when submitting the Trexler Report, learned that in-

 3   formation from Ms. Gil’s testimony seven days later, and then incorporated that information into the

 4   Trexler Supplemental Report two weeks after that, all before NSO had submitted any damages re-

 5   buttal report. She did not try and hide her opinions from NSO, as NSO had two months to review

 6   her supplemental report before her deposition. And she did not try and buttress her opinions against

 7   criticisms, as no rebuttal report had yet been filed. (In stark contrast, NSO only served Mr. Pinson-

 8   neault’s second supplemental report after his deposition. See Dkt. No. 492 ¶¶ 9–10.)

 9                                               CONCLUSION

10          For the reasons stated above, the Plaintiffs respectfully request that the Court deny NSO’s

11   motion to strike Ms. Trexler’s supplemental expert report.

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 1    Dated: January 13, 2025                        Respectfully Submitted,

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